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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                       Case No. 13-cr-25-PB

James Joyce, et al.



                                O R D E R


     Defendant Hon Luu has moved to continue the June 4, 2013,

trial in the above case, citing scheduling conflicts with the

current trial date.    Specifically, counsel for defendant Luu has

a vacation planned for the first week in June, of which he

informed the court on the day he was appointed.              In addition,

counsel has identified several cases which he expects to go to

trial between July and September 2013.        The government and co-

defendants James Joyce, Marie Chacon, Debra Miller, and Michael

Cassie all consent to a continuance of the trial date.

Defendant Samly Sysouphanh does not consent.

     Counsel’s preplanned vacation is a proper basis for

granting a continuance.      See United States v. Gates, 709 F.3d

58, 67 (1st Cir. 2013) (stating that counsel’s reasonable

vacation was a valid reason for excluding a brief period of time
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under the Speedy Trial Act) (citing United States v. Pringle,

751 F.2d 419, 432 (1st Cir. 1984) (“The legislative history of

the Speedy Trial Act . . . indicates that scheduling conflicts

of either defense or government counsel were intended by

Congress to be legitimate grounds for granting a continuance

under § 3161(h)(8).”)).      Additionally, it is neither

“unreasonable [n]or unprofessional” for counsel to request a

continuance due to a crowded trial schedule.         See Belton v.

United States, Civil No. 09-cv-345-JD, 2010 WL 2816374, *7

(D.N.H. July 10, 2010) (finding counsel not ineffective when he

requested and received continuances due to scheduling

conflicts); see also Gates, 709 F.3d at 67 (stating that defense

counsel’s request for additional time to review discovery

provided by the government was a reasonable basis for a

continuance).

     Counsel has identified with specificity his vacation plans

and the cases with which a June trial for this defendant would

conflict.   Contra United States v. Lloyd, 125 F.3d 1263 (9th

Cir. 1997).   In addition, this request for a relatively brief

continuance is counsel’s first.      Accordingly, for the reasons

stated in the motion and to allow the parties additional time to

properly prepare for trial, the court agrees to continue the

trial from June 4, 2013, to August 20, 2013.         In agreeing to

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continue the trial, the court finds pursuant to 18 U.S.C.A. '

3161(h)(7)(A) that, for the above-stated reasons, the ends of

justice served in granting a continuance outweigh the best

interests of the public and the defendants in a speedy trial.

      The May 28, 2013, final pretrial conference is continued to

August 13, 2013, at 11:00 a.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge


May 1, 2013

cc:   Roger Chadwick, Jr., Esq.
      Jonathan Cohen, Esq.
      Benjamin Falkner, Esq.
      James Gleason, Esq.
      Cathy Green, Esq.
      Jonathan Saxe, Esq.
      Jennifer C. Davis, AUSA
      United States Marshal
      United States Probation




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